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 8                               UNITED STATES DISTRICT COURT
 9     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10
11 BRYON JACKSON,                                  Case No. 3:21-cv-08458-LB
                                                   [Honorable District Judge, Magistrate
12                      Plaintiff,                 Judge Laurel Beeler]
13             v.                                  [MOTION IN LIMINE NO. 2]
14 TARGET CORPORATION,                             [PROPOSED] ORDER GRANTING
                                                   DEFENDANTS' MOTION IN
15                      Defendant.                 LIMINE TO EXCLUDE ALL
                                                   EVIDENCE AND ARGUMENT
16                                                 RELATING TO PLAINTIFF’S
                                                   INJURIES, MEDICAL
17                                                 TREATMENT, MEDICAL
                                                   EXPENSES OR SPECIAL
18                                                 DAMAGES
19                                                 Date: 2/15/2024
                                                   Time: 1:00 thp.m.
20                                                 Crtrm.: B 15 Floor
21
22            After due consideration of all of the relevant pleadings, papers, and records in
23 this action; and upon such other oral and documentary evidence or argument as was
24 presented to the Court; pursuant to the Court’s inherent and statutory powers, and to
25 the Court’s authority under the Federal Rules and the applicable Local Rules of the
26 United States District Court, Northern District of California, Good Cause appearing
27 therefore, and in furtherance of the interests of justice,
28            IT IS HEREBY ORDERED that:
     4876-2536-5918.1
                                           1                    Case No. 3:21-cv-08458-LB
     PROPOSED] ORDER GRANTING DEFENDANTS' MOTION IN LIMINE TO EXCLUDE ALL EVIDENCE
      AND ARGUMENT RELATING TO PLAINTIFF’S MEDICAL TREATMENT, MEDICAL EXPENSES OR
                                   SPECIAL DAMAGES
       Case 3:21-cv-08458-LB Document 103-1 Filed 01/17/24 Page 2 of 3




 1         1)    The Court hereby GRANTS the Defendant's Motion In Limine To
 2 Exclude Reference To Plaintiff's injuries, medical treatment, medical expenses and
 3 special damages.
 4         2)    Accordingly, the following matters shall hereby be excluded from
 5 evidence, and from being published to the jury or finder of fact, and from being
 6 admitted into evidence, in this matter any and all evidence, documents, records,
 7 recordings, testimony, statements, opinions based upon, argument based upon, and/or
 8 reference before the jury all evidence and argument relating to:
 9         a)    any and all evidence and documents related to Plaintiff's injuries,
10 medical treatment, medical expenses and special damages.
11         IT IS SO ORDERED.
12
13 Dated:
                                                 UNITED STATES DISTRICT
14
                                                 JUDGE
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23 Respectfully Submitted By:
24 David V. Roth (State Bar No. 194648)
      david.roth@manningkass.com
25 Gabriella Pedone (State Bar No. 308384)
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26 MANNING & KASS
   ELLROD, RAMIREZ, TRESTER LLP
27 801 S. Figueroa St, 15th Floor
   Los Angeles, California 90017-3012
   Telephone: (213) 624-6900
28 4876-2536-5918.1
                                           2                    Case No. 3:21-cv-08458-LB
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                                   SPECIAL DAMAGES
        Case 3:21-cv-08458-LB Document 103-1 Filed 01/17/24 Page 3 of 3




 1 Facsimile: (213) 624-6999
 2 Attorneys for Defendant, TARGET
   CORPORATION
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28   4876-2536-5918.1
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                                   SPECIAL DAMAGES
